               Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 1 of 9



 1
                                                  FILED
 2                                       2021 SEP 13 09:00 AM
                                             KING COUNTY
 3                                      SUPERIOR COURT CLERK
                                                E-FILED
 4                                      CASE #: 21-2-12020-9 KNT
 5

 6

 7                 SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8

 9    KRISHNA RAJA, an individual,

10                      Plaintiff,                        NO.

11            v.
12
      AMERICAN AIRLINES GROUP, INC., a                    COMPLAINT FOR DAMAGES
13    Delaware Corporation; AMERICAN
      AIRLINES, INC., a Delaware Corporation;
14    AMERICAN AIRLINES JANE DOES 1
      through 10; HUNTLEIGH USA
15    CORPORATION, a Texas Corporation;
      HUNTLEIGH USA JANE DOES 1 through
16
      10,
17
                         Defendants.
18

19          COMES NOW the Plaintiff, Krishna Raja, by and through his undersigned attorneys,
20
     and allege as follows:
21
                                          I.     PLAINTIFF
22
     1.1    Krishna Raja is a resident of Wayne, Pennsylvania, but is in the process of moving to
23

24   Seattle, Washington.

25   1.2    Due to an accident earlier in life, Mr. Raja suffers from quadriplegia with loss of

26   movement and sensation in all four limbs, but with some control over his shoulder and biceps.


      COMPLAINT FOR DAMAGES – 1                         KRUTCH LINDELL BINGHAM JONES, P.S.
                                                        3316 Fuhrman Avenue E., Suite 250
                                                        Seattle, WA 98102
                                                        206-892-3100
                Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 2 of 9



 1   The limited control Mr. Raja has over his shoulder allows him to move his hand and is vital to
 2
     both his independence and his career as a software engineer. The defendants attempted to
 3
     physically move Mr. Raja off an aircraft against his will and caused him to fall out of a
 4
     wheelchair onto the floor. This fall severely injured his shoulder.
 5
                                         II.     DEFENDANTS
 6

 7   2.1    At all times material hereto, Defendant American Airlines, Inc. is, and has been, a

 8   Delaware corporation headquartered in Fort Worth, Texas, and doing business in King
 9   County, Washington. At all times material hereto, American Airlines, Inc., has maintained a
10
     registered agent for service in Olympia, Washington. American Airlines, Inc. is a legacy air
11
     carrier operating regularly scheduled commercial flights under 14 CFR Part 121 and operates
12
     flights out of Sea-Tac, King County, Washington.
13

14   2.2    At all times material hereto, Defendant American Airlines Group, Inc. is, and has

15   been, a Delaware corporation headquartered in Fort Worth, Texas, and doing business in King

16   County, Washington. On information and belief, American Airlines Group, Inc., owns
17   American Airlines, Inc. American Airlines Group, Inc. and American Airlines, Inc. are alter
18
     egos of each other, have unified interests, and are in effect a single economic entity.
19
     2.3    American Airlines Group, Inc. and American Airlines, Inc. are referred to jointly as
20
     “American Airlines.”
21

22   2.4    American Airlines Jane Doe 1 and Jane Does 2-10 were employees of American

23   Airlines, serving in their capacity as flight attendants on flight AAL2846 and gate agents at

24   the arrival gate in Seattle. Because their names are currently unknown to Plaintiff, they are
25
     referred to herein by their occupations. Because which particular actions and omissions
26


      COMPLAINT FOR DAMAGES – 2                          KRUTCH LINDELL BINGHAM JONES, P.S.
                                                         3316 Fuhrman Avenue E., Suite 250
                                                         Seattle, WA 98102
                                                         206-892-3100
                 Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 3 of 9



 1   should be attributed to each flight attendant and gate agent is unknown at this time, the flight
 2
     attendants and gate agents are occasionally referred to generally and collectively herein.
 3
     2.5     The first name of American Airlines Jane Doe 1 is believed to be “Darlene” or a
 4
     phonetically similar name.
 5
     2.6     Defendant Huntleigh USA Corporation is a foreign corporation organized and
 6

 7   incorporated under the laws of Missouri, with its principal place of business in Texas, and

 8   doing business at all times relevant hereto directly, and/or through its corporate office in Kent,
 9   Washington. Huntleigh USA Corporation has an active license in the state of Washington,
10
     with a registered agent in Olympia, Washington.
11
     2.7     Hereinafter, Defendant Huntleigh USA Corporation is referred to as “Huntleigh.”
12
     2.8     Huntleigh Jane Does 1-10 were employees of Huntleigh, serving in their capacity as
13

14   Huntleigh employees. Because their names are currently unknown to Plaintiff, they are

15   referred to generally herein. Because which particular actions and omissions should be

16   attributed to each Huntleigh employee is unknown at this time, the Huntleigh employees are
17   occasionally referred to generally and collectively herein.
18
     2.9     At the time of the incident, Huntleigh acted as American Airlines’ agent in carrying
19
     out American Airlines’ duties to assist disabled passengers in embarking and disembarking
20
     aircraft.
21

22   2.10    All pronouns and other indications of gender or biological sex are meant to be

23   nonspecific and interchangeable.

24                                III.   JURISDICTION AND VENUE
25
     3.1     The Superior Court of King County, State of Washington, has subject matter
26
     jurisdiction over this action pursuant to RCW § 2.08.010.

      COMPLAINT FOR DAMAGES – 3                          KRUTCH LINDELL BINGHAM JONES, P.S.
                                                         3316 Fuhrman Avenue E., Suite 250
                                                         Seattle, WA 98102
                                                         206-892-3100
                Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 4 of 9



 1   3.2    Jurisdiction is proper in the State of Washington because the cause of action as alleged
 2
     herein arose out of activities (to wit, the commission of a tortious act within this state) within
 3
     the State of Washington pursuant to RCW § 4.28.185.
 4
     3.3    Venue is proper in King County pursuant to RCW § 4.12.025, because the tortious
 5
     acts and omissions that caused this incident occurred in King County, Washington. The Kent
 6

 7   assignment area is proper because the incident occurred south of I-90.

 8                                            IV.     FACTS
 9   4.1    On the afternoon of October 1, 2019, Mr. Raja boarded American Airlines flight
10
     AAL2846, a midday flight from Philadelphia International Airport in Philadelphia,
11
     Pennsylvania to Seattle Tacoma International Airport in Sea-Tac, Washington (“Sea-Tac”).
12
     4.2    The purpose of Mr. Raja’s trip was to attend a job interview for a position as a
13

14   software engineer with a company in the Seattle area.

15   4.3    The prospective employer booked Mr. Raja’s ticket and informed American Airlines

16   that he requires wheelchair assistance to embark and disembark from the aircraft due to his
17   preexisting physical disability.
18
     4.4    It is believed and therefore alleged that American Airlines kept a list of passengers
19
     requiring special services and that Mr. Raja was on this list.
20
     4.5    American Airlines provided Mr. Raja with the requisite assistance needed for him to
21

22   safely board AAL2846 in Philadelphia, which departed on the morning of October 1, 2019.

23   4.6    Flight AAL2846 arrived at Sea-Tac on the afternoon of October 1, 2019.

24   4.7    American Airlines contracted with Huntleigh to safely disembark Mr. Raja at Sea-Tac,
25
     but qualified Huntleigh agents were not available upon his arrival.
26


      COMPLAINT FOR DAMAGES – 4                           KRUTCH LINDELL BINGHAM JONES, P.S.
                                                          3316 Fuhrman Avenue E., Suite 250
                                                          Seattle, WA 98102
                                                          206-892-3100
                  Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 5 of 9



 1   4.8       Huntleigh Jane Doe 1 arrived to assist Mr. Raja but she was not trained in moving
 2
     quadriplegic passengers. As such, she advised everyone present that she called the office and
 3
     that somebody else was on their way.
 4
     4.9       Despite Huntleigh Jane Doe 1’s assurance that somebody else was on their way,
 5
     American Airlines Jane Doe 1 refused to wait for properly trained Huntleigh agents to arrive
 6

 7   but insisted on attempting to transfer Mr. Raja to an aisle chair immediately and requested

 8   that Huntleigh Jane Doe 1 help her even though Huntleigh Jane Doe 1 was obviously not
 9   comfortable with the situation.
10
     4.10      Mr. Raja, his parents, and his sister requested that Mr. Raja not be moved without
11
     qualified assistance.
12
     4.11      American Airlines Jane Doe 1 became visibly and audibly frustrated with Mr. Raja
13

14   when she found out that Mr. Raja could not use his arms.

15   4.12      Mr. Raja lost the use of his arms in an accident when he was 20 years old. Despite

16   American Airlines Jane Doe 1’s implication, Mr. Raja did not choose to be paralyzed.
17   4.13      Mr. Raja’s sister grew increasingly concerned when she asked American Airlines Jane
18
     Doe 1 not to move Mr. Raja without qualified assistance. Her voice cracked as she pleaded
19
     with American Airlines Jane Doe 1 on behalf of her brother: “I do not want any bones to
20
     break.”
21

22   4.14      American Airlines Jane Doe 1 stated, “well if that be the case then you need a medical

23   assistant because we can only do so much,” as she placed her hands around Mr. Raja and

24   started trying to drag him into the aisle chair.
25

26


      COMPLAINT FOR DAMAGES – 5                          KRUTCH LINDELL BINGHAM JONES, P.S.
                                                         3316 Fuhrman Avenue E., Suite 250
                                                         Seattle, WA 98102
                                                         206-892-3100
                Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 6 of 9



 1   4.15    As American Airlines Jane Doe 1 lifted Mr. Raja under his arms and Huntleigh Jane
 2
     Doe 1 attempted to lift his legs, American Airlines Jane Doe 1 stated “I can do it! I’m very
 3
     good at this.”
 4
     4.16    American Airlines Jane Doe 1 was not in fact very good at this.
 5
     4.17    At the instruction of American Airlines Jane Doe 1, Huntleigh Jane Does 1 and 2
 6

 7   continued trying to secure Mr. Raja in the aisle chair.

 8   4.18    An unnamed American Airlines flight attendant—who spoke politely and kindly to
 9   Mr. Raja and his family throughout this incident and is not named as a defendant herein—
10
     attempted to stop American Airlines Jane Doe 1 and Huntleigh Jane Does 1 and 2 from
11
     continuing their attempt to move Mr. Raja.
12
     4.19    American Airlines Jane Doe 1 claimed “I can transfer him I just can’t lift him because
13

14   he’s heavy.”

15   4.20    The aisle chair rocked back and forth because it was unsecured and Mr. Raja nearly

16   fell but his sister caught him. Mr. Raja’s father asked the Huntleigh Jane Does to secure the
17   aisle chair.
18
     4.21    For some inexplicable reason, after Mr. Raja was most of the way into the aisle chair,
19
     either American Airlines Jane Doe 1 or a Huntleigh employee proceeded to unstrap Mr.
20
     Raja’s aisle chair seat belt without supporting his torso, causing him to fall to the floor and
21

22   sustain serious injuries.

23   4.22    The American Airlines and Huntleigh employees in the vicinity all failed to catch Mr.

24   Raja as he fell to the floor.
25
     4.23    Mr. Raja laid on the floor of the aircraft, moaning in pain while his family tried to
26
     comfort him, until EMTs later arrived and assisted Mr. Raja off the plane.

      COMPLAINT FOR DAMAGES – 6                          KRUTCH LINDELL BINGHAM JONES, P.S.
                                                         3316 Fuhrman Avenue E., Suite 250
                                                         Seattle, WA 98102
                                                         206-892-3100
                Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 7 of 9



 1                                    V.    CAUSES OF ACTION
 2
                          First Cause of Action – Common Law Negligence
 3                                     Against All Defendants

 4   5.1    Plaintiff alleges a common law negligence claim against all Defendants. All

 5   Defendants had a duty of reasonable care to Mr. Raja, breached that duty, and proximately
 6
     caused Plaintiff’s damages. Additional allegations regarding individual Defendants are
 7
     included in the subsections below.
 8
     5.2    American Airlines is a common carrier under Federal law and Washington law, and
 9
     therefore has a duty to use the highest degree of care to ensure the safety of its passengers.
10

11   5.3    As American Airlines’ agent in assisting disabled passengers embark and disembark

12   aircraft, Huntleigh is also a common carrier with a duty to use the highest degree of care to
13   ensure the safety of its passengers.
14
     5.4    Further, 14 C.F.R. §382.95 and/or other provisions of the Air Carrier Access Act
15
     requires air carriers to promptly provide or ensure the provision of assistance requested by or
16
     on behalf of passengers with a disability or offered by carrier or airport operator personnel
17

18   and accepted by passengers with a disability, in enplaning and deplaning. These requirements

19   include, amongst other things, the provision of personnel to provide this assistance.

20   5.5    American Airlines, by and through its agents and servants, breached its duty owed to
21   Mr. Raja under the common law and the Air Carrier Access Act by failing to safely assist
22
     during the disembarkment process.
23
     5.6    Huntleigh, by and through its agents and servants, breached its duty owed to Mr. Raja
24
     under the common law and the Air Carrier Access Act by failing to safely assist during the
25

26   disembarkment process.


      COMPLAINT FOR DAMAGES – 7                          KRUTCH LINDELL BINGHAM JONES, P.S.
                                                         3316 Fuhrman Avenue E., Suite 250
                                                         Seattle, WA 98102
                                                         206-892-3100
                Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 8 of 9



 1   5.7     The above–described incident was the direct and proximate result of negligence of
 2
     American Airlines and Huntleigh in their failure to safely transport Mr. Raja off the aircraft.
 3
     5.8     The injuries suffered by Mr. Raja were the direct and proximate result of the
 4
     negligence of the defendants.
 5
     5.9     American Airlines and Huntleigh are liable for the negligence of their respective John
 6

 7   Does 1 -10 (gate agents, flight attendants, wheelchair assistants) and Plaintiff’s damages

 8   under the principle of respondeat superior.
 9     Second Cause of Action – Assault and Battery Against American Airlines Jane Doe 1
10
     5.7     The above-described incident in which American Airlines Jane Doe 1 forcefully
11
     transferred Mr. Raja to an unsecured aisle chair over his explicit protests was intentional,
12
     nonconsensual, and harmful and/or offensive. Accordingly, Ms. Doe is liable for the
13

14   intentional torts of assault and battery.

15   5.8     Jane Doe 1, and her marital community, if married, are therefore liable for Plaintiff’s

16   damages as set out below.
17                                          VI.     DAMAGES
18
     6.1     As a direct and proximate cause of defendants’ negligence, Mr. Raja suffered severe
19
     and permanent harm including, but not limited to, the following damages in an amount to be
20
     proven at trial for which he is entitled to be compensated by defendants.
21

22           6.1.1   Past, present, and future mental and physical pain and suffering; mental and

23   emotional pain, suffering, anguish and distress; loss of ability to enjoy life;

24           6.1.2   Past, present, and future medical treatment expenses;
25
             6.1.3   Past, present, and future impaired earning capacity;
26
             6.1.4   Past, present, and future general and special damages;

      COMPLAINT FOR DAMAGES – 8                           KRUTCH LINDELL BINGHAM JONES, P.S.
                                                          3316 Fuhrman Avenue E., Suite 250
                                                          Seattle, WA 98102
                                                          206-892-3100
             Case 2:21-cv-01409 Document 1-1 Filed 10/15/21 Page 9 of 9



 1       6.1.5   Disability; and,
 2
         6.1.6   Such other further injuries and damages as will be proven at the time of trial.
 3
                                 VII.       PRAYER FOR RELIEF
 4
         WHEREFORE, plaintiffs request that the Court enter judgment against defendants for:
 5
      1. Special and general damages in amounts to be proven at trial;
 6

 7    2. Costs and disbursements;

 8    3. Statutory attorney fees;
 9    4. If defendants bring any frivolous or unfounded defenses, for attorneys’ fees and costs
10
         pursuant to RCW 4.84.185 and/or Rule 11 of the Superior Court Civil Rules;
11
      5. Statutory interest on the judgment from the date judgment is entered until paid in full;
12
      6. Prejudgment interest on the special damages;
13

14    7. Prejudgment interest on liquidated damages;

15    8. Such other and further relief as the Court may deem just and equitable.

16    Dated this 10th day of September, 2021.
17                                           KRUTCH LINDELL BINGHAM JONES, P.S.
18
                                             /s/ James T. Anderson
19                                           /s/ J. Nathan Bingham
                                             James T. Anderson, WSBA #40494
20                                           James Nathan Bingham, WSBA #46325
21                                           Attorneys for Plaintiff
22

23

24

25

26


     COMPLAINT FOR DAMAGES – 9                       KRUTCH LINDELL BINGHAM JONES, P.S.
                                                     3316 Fuhrman Avenue E., Suite 250
                                                     Seattle, WA 98102
                                                     206-892-3100
